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  EXHIBIT “Q”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: no wonder Daphna doesn't have time for her deposition -- she apparently has been very busy defrauding other clients
   Date: May 16, 2024 at 10:34 AM
     To: Patrick Healey phealey@rebarkelly.com
    Cc: Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com



       Patrick,

       No wonder Daphna doesn't have time for her deposition in our case —
       Daphna apparently has been very busy defrauding other clients:


       MAY 15, 2024

       (SUFFOLK COUNTY, N.Y.) – Suffolk County District Attorney Raymond A. Tierney
       today announced the second indictment of Daphna Zekaria, 54, of Syosset, who is accused
       of Grand Larceny in the Second Degree for allegedly stealing $150,000 from a third client.
       Zekaria was previously arrested and arraigned on a separate indictment in December 2023,
       for allegedly stealing more than $200,000 from two other clients.

       “Attorneys occupy unique positions of trust within our community,” said District Attorney
       Tierney. “My office will not tolerate attorneys abusing that trust to unlawfully enrich
       themselves at the expense of others.”

       According to the second indictment, in August 2021, Zekaria, a partner at the Huntington
       law firm of Sokolski and Zekaria, P.C., was allegedly hired to represent a woman in her
       divorce and, later, for the sale of her marital home. Between December 29, 2021, and March
       4, 2022, Zekaria allegedly received approximately $150,000, which were the proceeds of the
       sale of her client’s home. Zekaria was to hold the funds in her escrow account to be
       dispersed when the client’s divorce was finalized. Instead, Zekaria allegedly used the funds
       for personal and business expenses.

       In the first indictment, in December 2021, Zekaria was hired by a New York State Lottery
       winner, and allegedly made promises to hold a portion of her client’s money in the firm’s
       escrow account and invest an additional portion on his behalf. Instead of holding the money
       or investing it, Zekaria allegedly did neither, instead making large transfers of money to
       other individuals which she would not have been able to, had her client’s funds not been
       deposited into her account. Zekaria collected a total of $230,000 from the victim in three
       separate transactions.

       Additionally, in March 2023, Zekaria was retained by an elderly Manhattan woman to assist
       her in contesting eviction proceedings. Zekaria allegedly took $17,500 from the victim to
       represent her but performed no legal work on her behalf. After the victim requested her
       money back 13 days after providing the payment, Zekaria had allegedly spent the victim’s
       money on LIPA payments and credit card bills.

       On May 14, 2024, Zekaria was arraigned on the new indictment before Supreme Court
       Justice Richard Ambro, for one count of Grand Larceny in the Second Degree, a Class C
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Justice Richard Ambro, for one count of Grand Larceny in the Second Degree, a Class C
felony. Zekaria was released on her own recognizance during the pendency of the case
because her charge is considered non-bail eligible under current New York State law,
meaning prosecutors cannot ask for bail and judges cannot set bail. She had previously
surrendered her passport at her arraignment on the first indictment. Zekaria is due back in
court on June 12, 2024, and she is being represented by Brian J. Griffin, Esq.

If you believe you have been victimized by Daphna Zekaria, please call the Suffolk County
District Attorney’s Office at (631) 853-4626.

These cases are being prosecuted by Assistant District Attorney Katharine D’Aquila of the
Public Corruption Bureau.




—
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